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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff/Respondent,

vs.                                                                    Case No. 92-81127

GENE O. POLK,
                                                                     HON. AVERN COHN
     Defendant/Petitioner.
_______________________________/

             ORDER DENYING MOTION UNDER RULE 60(b) (Doc. 2148)
               AND DENYING A CERTIFICATE OF APPEALABILITY

                                             I.

       This is a criminal case. Defendant/Petitioner Gene O. Polk (Petitioner) is serving

a life sentence following his jury conviction on multiple drug related offenses. As will be

explained, Petitioner has pursued multiple post-conviction remedies, including a motion

under 28 U.S.C. § 2255 and two petitions for writ of audita querela under 28 U.S.C. §

1651. None of them were successful. Before the Court is Petitioner’s motion under

Fed. R. Civ. P. 60(b), in which he again argues he is entitled to relief based on the

United States Supreme Court’s decision in United States v. Richardson, 526 U.S. 813

(1999).1 For the reasons which follow, the motion will be denied.




       1
         In Richardson, the Supreme Court held that “a jury in a federal criminal case
brought under § 848 [the CCE statute] must unanimously agree not only that the
defendant committed some ‘continuing series of violations’ but also that the defendant
committed each of the individual ‘violations’ necessary to make up that ‘continuing
series,’” 526 U.S. at 815.
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                                             II.

       The Court of Appeals for the Sixth Circuit, in affirming the Court’s denial of

Petitioner’s first petition for writ of audita querela, see case no. 11-11252, summarized

the background of this case, including Petitioner’s numerous attempts to seek relief

from his conviction and sentence:

               In 1995, a jury found Polk guilty of conspiracy to possess with intent to
       distribute cocaine and cocaine base, aiding and abetting intentional killing in
       furtherance of a continuing criminal enterprise, and using or carrying a firearm in
       relation to a drug trafficking crime. These charges arose out of his leadership
       and involvement in the “Best Friends” organization, a large-scale cocaine
       distribution organization in Detroit, Michigan. Polk was sentenced to life in
       prison, plus 45 years. This court affirmed Polk’s conviction and sentence, United
       States v. Polk, No. 96-1492, 1999 WL 397922 (6th Cir. June 2, 1999)
       (unpublished), and the Supreme Court denied review, 528 U.S. 1055 (1999).
               Polk then filed a motion to vacate his sentence under 28 U.S.C. § 2255,
       which the district court denied in 2001, and this court denied a certificate of
       appealability. Polk’s motion to file a successive § 2255 motion was also denied.
       In 2006, Polk filed a petition for habeas relief under 28 U.S.C. § 2241 in a federal
       district court in Florida, which was denied. Polk v. Yates, No. 04-548 (M.D. Fl.
       Oct. 2006).
               Polk then filed a second § 2241 petition in the United States District Court
       for the Eastern District of Michigan, which was transferred to the Western District
       of Louisiana, because Polk had been transferred to a Louisiana federal prison.
       The Louisiana district court denied the petition, and the Fifth Circuit affirmed. In
       its decision, the Fifth Circuit determined that Polk’s challenge to his conviction,
       based on the holding in Richardson v. United States, 526 U.S. 813 (1999), was
       raised in his initial § 2255 motion in the Michigan federal district court, and that
       Polk had not shown that a § 2255 motion would be inadequate to test the legality
       of this same challenge.
               Polk then filed a petition with this court, challenging the transfer of his §
       2241 petition to the Louisiana district court, and asking this court to review his
       claim on the merits. This court denied the request for mandamus on August 24,
       2010, noting that Polk had numerous ways to pursue relief and that those
       alternatives were not inadequate simply because relief had been denied.
               In March 2011, Polk filed the pro se petition for audita querela now before
       us for review, arguing that he was denied the opportunity to challenge his
       convictions based on Richardson. The district court determined that Polk was
       seeking to set aside his conviction with a legal challenge, and that his claim was
       cognizable in a § 2255 motion, so that relief under the writ of audita querela was
       not available. The district court also determined that relief under audita querela

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       could not be granted before Polk had finished serving his sentence and had been
       released.

Polk v. United States, No. 11-1620 (6th Cir. Jan. 31, 2012). Following the Sixth Circuit’s

decision, Petitioner sought, and was denied certiorari. Polk v. United States, No. 11-

9962 (Supreme Court May 21, 2012).

       Petitioner then filed a second petition for a writ of audita querela. Polk v. United

States, case no. 13-13769. The Court denied the petition on September 27, 2013 for

the same reasons his first petition for writ of audita querela was denied. See Doc. 4 in

case no. 13-13769.

       Meanwhile, Petitioner filed a motion in the Sixth Circuit seeking permission to file

a second or successive motion under § 2255, again based on the holding in

Richardson. The Sixth Circuit denied the motion. In re: Gene Polk, No. 12-2064 (6th

Cir. Mar. 6, 2013).

       On October 21, 2013, Petitioner filed the instant motion under Rule 60(b).

                                            III.

       Rule 60(b) of the Federal Rules of Civil Procedure offers losing parties limited

grounds for relief from judgments.2 GenCorp, Inc. v. Olin Corp., 477 F.3d 368, 372 (6th

Cir. 2007). Petitioner seeks relief under Rule 60(b)(6). The Sixth Circuit has held:



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         (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered
evidence which by due diligence could not have been discovered in time to move for a
new trial under Rule 59(b); (3) fraud (whether heretofore denominated intrinsic or
extrinsic), misrepresentation or other misconduct of an adverse party; (4) the judgment
is void; (5) the judgment has been satisfied, released, or discharged, or a prior judgment
upon which it is based has been reversed or otherwise vacated, or it is no longer
equitable that the judgment should have prospective application; or (6) any other reason
justifying relief from the operation of the judgment.

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“Courts ... must apply subsection (b)(6) only as a means to achieve substantial justice

when something more than one of the grounds contained in Rule 60(b)'s first five

clauses is present. The something more ... must include unusual or extreme situations

where principles of equity mandate relief.” Ford Motor Co. v. Mustangs Unlimited, Inc.,

487 F.3d 465, 468 (6th Cir. 2007). Because our public policy favors finality in

judgments, relief under Rule 60(b)(6) is extremely limited. Waifersong Ltd., Inc. v.

Classic Music Vending, 976 F.2d 290, 292 (6th Cir. 1992); see also Blue Diamond Coal

Co. v. Trs. of UMWA Combined Benefit Fund, 249 F.3d 519, 524 (6th Cir. 2001) (In the

absence of “extreme and extraordinary circumstances,” the principles of equity do not

mandate relief under Rule 60(b)(6)).

       Petitioner has not satisfied the standard for relief under 60(b)(6). As explained in

the Court’s order denying his motion under § 2255, the decision in Richardson does not

provide an avenue for relief. Moreover, the Sixth Circuit recently informed Petitioner

that he was not entitled to file a second petition under § 2255 based on Richardson,

stating:

       Richardson did not create a new rule of constitutional law, but rather, was a case
       of “pure statutory interpretation.” Statutory interpretation cases do not satisfy the
       § 2255(h) requirement of showing a new rule of constitutional law.

In re: Gene Polk, No. 12-2064 at p. 2. Petitioner is really just seeking reconsideration of

the rejection of his arguments based on Richardson. This does not present an unusual

or extraordinary circumstances that warrant 60(b)(6) relief. Accordingly, Petitioner’s

motion is DENIED.



                                            IV.

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       Before Petitioner can appeal the Court’s decision, a certificate of appealability

(COA) must issue. See United States v. Hardin, 481 F.3d 924, 926 (6th Cir. 2007)

(stating that “this prerequisite [a COA] is consistent with the language of section 2253,

and therefore hold that [a Petitioner] must obtain a certificate of appealability before his

appeal of the denial of his Rule 60(b)). A COA may be issued “only if the applicant has

made a substantial showing of the denial of a constitutional right.” 28 U.S.C. §

2253(c)(2). Reasonable jurists would not debate the Court’s conclusion that Petitioner

is not entitled to relief under Rule 60(b)(6). Accordingly, a COA is DENIED.

       SO ORDERED.




                                            S/Avern Cohn
                                           AVERN COHN
                                           UNITED STATES DISTRICT JUDGE


Dated: November 5, 2013


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record on this date, November 5, 2013, by electronic and/or ordinary mail.


                                           S/Sakne Chami
                                           Case Manager, (313) 234-5160




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